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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 THE STATE OF TEXAS, TEXAS HEALTH                   §
 AND HUMAN SERVICES COMMISSION,                     §
                                                    §
         Plaintiffs,                                §
                                                    §
 v.                                                 §
                                                          Case No. 6:21-cv-00191-JCB
                                                    §
 CHIQUITA BROOKS-LASURE, in her official            §
 capacity as Administrator of the Centers for       §
 Medicare & Medicaid Services, et al.,              §
                                                    §
         Defendants.                                §

      PLAINTIFFS’ DESIGNATION OF EXPERTS & NOTICE OF COMPLIANCE

        In accordance with the Court’s Scheduling Order (ECF 59) and December 22, 2021, Minute

Order, Plaintiffs designate the following expert witnesses who will testify on issues for which Plaintiffs

have the burden of proof.

I.      Retained Testifying Experts

        Plaintiffs designate and intend to call at trial the following expert, who is being disclosed in

accordance with Federal Rule of Civil Procedure 26(a)(2)(B):

        Dwight Steward, Ph.D.
        Steward Research Group, Inc. d/b/a EmployStats
        1920 East Riverside Dr.
        Suite A120 #260
        Austin, Texas 78741
        512-775-9393
        dsteward@employstats.com

II.     Non-Retained Testifying Experts

        Plaintiffs designate and intend to call at trial the following experts, who are being disclosed in

accordance with Federal Rule of Civil Procedure 26(a)(2)(C):



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 Witness                    Subject Matter & Summary of Facts and Opinions

 Brittani Bilse             In addition to her testimony as a fact witness, Ms. Bilse is expected to
                            provide expert testimony on the process of preparing, negotiating, and
 Ms. Bilse may be           garnering approval for demonstration projects and programs
 contacted through          constituted under them and the operation of those projects and
 Plaintiffs’ counsel.       programs once they have been established. She will opine on how
                            CMS’s course of dealing with HHSC regarding approval of the state-
                            directed payment programs demonstrates its bad faith; how CMS’s
                            rescission of the previously approved extension of Texas’s
                            demonstration project harmed the State, its Medicaid recipients, its
                            providers, and the managed-care organizations that insure Medicaid
                            recipients; the effect on the State, its Medicaid recipients, its providers,
                            and the managed-care organizations that insure Medicaid providers
                            should the current demonstration project end; and the amount of time
                            it would take to negotiate and implement new demonstration projects
                            and programs should the current demonstration project end. This
                            testimony will be based on her knowledge, education, training, and
                            experience, including as Director of 1115 Waiver Strategy for HHSC.

 Victoria Grady             In addition to her testimony as a fact witness, Ms. Grady is expected to
                            provide expert testimony on the process of preparing, negotiating, and
 Ms. Grady may be           garnering approval for demonstration projects and programs
 contacted through          constituted under them and the operation of those projects and
 Plaintiffs’ counsel.       programs once they have been established. She will opine on how
                            CMS’s course of dealing with HHSC regarding approval of the state-
                            directed payment programs demonstrates its bad faith; how CMS’s
                            rescission of the previously approved extension of Texas’s
                            demonstration project harmed the State, its Medicaid recipients, its
                            providers, and the managed-care organizations that insure Medicaid
                            recipients; the effect on the State, its Medicaid recipients, its providers,
                            and the managed-care organizations that insure Medicaid providers
                            should the current demonstration project end; and the amount of time
                            it would take to negotiate and implement new demonstration projects
                            and programs should the current demonstration project end. This
                            testimony will be based on her knowledge, education, training, and
                            experience, including as Director of Provider Finance for HHSC.


III.    Notice of Disclosure

        On February 18, 2022, Plaintiffs served on Defendants the disclosures required by Federal

Rule of Civil Procedure 26(a)(2) and Local Rule CV-26(b).




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Dated February 18, 2022                            Respectfully submitted.

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                                                   /s/ Leif A. Olson
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                                                   Texas Bar No. 24032801

                                                   JACK B. DISORBO
                                                   Assistant Attorney General
                                                   Texas Bar No. 24120804

                                                   Counsel for Plaintiffs

                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on February 18, 2022, and that all counsel of record were served by CM/ECF.

                                                      /s/ Leif A. Olson




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